Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 1 of 6
Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 2 of 6
Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 3 of 6
Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 4 of 6
Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 5 of 6
Case 3:08-cr-03016-LTS-KEM Document 144 Filed 12/15/08 Page 6 of 6
